                                   Court of Appeals
                            Sixth Appellate District of Texas

                                      JUDGMENT


 Reverse Mortgage Funding, LLC,                           Appeal from the 115th District Court of
 Appellant                                                Marion County, Texas (Tr. Ct. No.
                                                          1900039). Opinion delivered by Justice
 No. 06-19-00063-CV            v.                         Burgess, Chief Justice Morriss and Justice
                                                          Stevens participating.
 Carla Nagle Blevins Robertson, Appellee



          As stated in the Court’s opinion of this date, we find no error in the judgment of the court
below. We affirm the judgment of the trial court.
          We further order that the appellant, Reverse Mortgage Funding, LLC, pay all costs of this
appeal.

                                                         RENDERED JANUARY 3, 2020
                                                         BY ORDER OF THE COURT
                                                         JOSH R. MORRISS, III
                                                         CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
